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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


   Mahmoud KHALIL,

                      Petitioner,

   v.                                                        Case No. 2:25-cv-01963

   Donald J. TRUMP, in his official capacity as              Hon. Michael E. Farbiarz
   President of the United States; William P. JOYCE,
   in his official capacity as Acting Field Office           [PROPOSED] ORDER
   Director of New York, Immigration and Customs             GRANTING LEAVE TO
   Enforcement; Caleb VITELLO, Acting Director,              FILE BRIEF AS AMICI
   U.S. Immigration and Customs Enforcement; Kristi                CURIAE
   NOEM, in her official capacity as Secretary of the
   United States Department of Homeland Security;
   Marco RUBIO, in his official capacity as Secretary
   of State; and Pamela BONDI, in her official capacity
   as Attorney General, U.S. Department of Justice,

                      Respondents.


        Upon consideration of the Motion of the Foundation for Individual Rights and

  Expression, The Rutherford Institute, the First Amendment Lawyers Association,

  the National Coalition Against Censorship, and PEN American Center, Inc. for Leave

  to File Brief as Amici Curiae, and for good cause shown,

        IT IS on this _____ day of ________________, 2025, ORDERED:

        1. The Motion for Leave to File Brief as Amici Curiae is GRANTED;

        2. The proposed amici curiae brief is hereby deemed FILED.

                                                   ________________________________

                                                              Hon. Michael E. Farbiarz
